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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE


IN RE: GOOGLE, INC. COOKIE         :
PLACEMENT CONSUMER PRIVACY         :    Civ. No. 12-MD-2358
LITIGATION                         :


                                O R D E R


           AND NOW, this 18th day of December, 2019, it is hereby

ORDERED that Plaintiffs’ unopposed motion for an extension of

time to file their motion for preliminary approval and response

(ECF No. 191) is GRANTED and Plaintiffs shall file a motion for

preliminary approval of the class action settlement and

certification of the settlement class supported by a memorandum

of fact and law and appropriate affidavits by January 3, 2020.

           Defendant shall file a response thereto by January 21,

2020. If the parties present a joint motion for preliminary

approval, no response will be necessary.

           The Court will issue a further scheduling order

setting a date for an in-person hearing on the motion in due

course.



           AND IT IS SO ORDERED.



                                   /s/ Eduardo C. Robreno
                                   EDUARDO C. ROBRENO,    J.
